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 11
                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA
 12

 13   CHRISTY PALMER, VARTAN              Case No. 2:17-cv-06848 DMG (PLA)
      PIROUMIAN, BRIAN COX, and
 14   JEAN-CLAUDE FRANCHITTI              PLAINTIFFS’ NOTICE OF AND
 15                                       MOTION FOR SANCTIONS
                          Plaintiffs,
 16
             v.                           Hearing
 17
                                          Date: July 29, 2022
 18                                       Time: 9:30 a.m.
      COGNIZANT TECHNOLOGY
 19                                       Place: Courtroom 8C
      SOLUTIONS CORPORATION and,
                                          Judge: Hon. Dolly M. Gee
 20   COGNIZANT TECHNOLOGY
      SOLUTIONS U.S. CORPORATION,
 21                                       Complaint Filed: September 18, 2017
                                          Discovery Cut-Off: April 22, 2022
 22                        Defendants.
                                          Pre-Trial Conference Date: Nov. 29, 2022
 23                                       Trial Date: January 3, 2023

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     (Bankr. S.D.N.Y. June 3, 2022) (granting a default judgment based on “improper

1    discovery conduct” and separately considering whether the Rule 23 class certification

2    requirements (as incorporated by federal bankruptcy rules) had been met); Weidner v.

3    Carroll, No. 06-CV-782-DRH, 2008 WL 11379998, at *2 (S.D. Ill. Mar. 31, 2008)

4    (entering judgment on liability as a discovery sanction and separately considering class

5    certification).

6           Given the severity of Cognizant’s misconduct, Plaintiffs seek a default judgment

7    as to liability—i.e., a finding of a finding that Cognizant engaged in a pattern or practice

8    of discrimination against a class of terminated non-South Asian and non-Indian former

9    employees and a class of non-South Asian and non-Indian applicants who were not

10   hired by Cognizant during the class period. Plaintiffs further seek an order striking

11   Cognizant’s Opposition and Motion to Exclude, both of which incorporate and rely on

12   Cognizant’s falsified Exhibit 25, or, in the alternative, striking the arguments within

13   Cognizant’s Opposition and Motion to Exclude that rely on the falsified evidence.

14                                       III.   ARGUMENT

15   A.     Cognizant’s Falsification of Evidence Merits a Default Judgment.

16          When assessing whether to impose dismissal pursuant to the Court’s inherent

17   authority, Courts must determine: (1) the existence of certain extraordinary

18   circumstances, (2) the presence of willfulness, bad faith, or fault by the offending party,

19   (3) the efficacy of lesser sanctions, and (4) the relationship or nexus between the

20   misconduct drawing the dismissal sanction and the matters in controversy in the case.

21   Englebrick v. Worthington Indus., Inc., 620 F. App’x 564, 566 (9th Cir. 2015). Courts

22   may also consider prejudice to the offended party, although such a consideration is

23   optional. Id.

24          Cognizant’s conduct meets all four criteria for terminating sanctions under the

25   Court’s inherent authority. First, “[f]abrication of evidence material to the merits of a

26   case certainly meets the ‘extraordinary circumstances’ prong.” Biron v. Wyndham

27   Vacation Ownership, Inc., No. 219CV01695RFBEJY, 2021 WL 7160716, at *4 (D.

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     which Plaintiffs have repeatedly been forced to seek Court relief. As Judge Abrams put

1    it, Defendants have refused to recognize “the full and proper scope of their discovery

2    obligations, notwithstanding this Court’s repeated guidance.” Order at 26 (Dkt. 235). In

3    imposing sanctions (which the Court has now done twice), Judge Abrams pointed to

4    multiple false or misleading representations made by Cognizant during discovery. Id.

5    at 20 41 (listing false certifications). However, the Court has so far imposed only

6    monetary sanctions, which, as recent events show, are not sufficient to dissuade

7    Cognizant from continuing its pattern of deception.

8          Second, “‘recklessly or intentionally misrepresenting facts constitutes the

9    requisite bad faith’ to warrant sanctions[.]” Indiezone, Inc. v. Rooke, 720 F. App’x 333,

10   337-38 (9th Cir. 2017). Indeed, courts in the Ninth Circuit consistently find the

11   falsification of evidence to constitute bad faith. See, e.g., Nanak Fdn. Trust v. GMAC

12   Mort., LLC, No. C–12–5647 EMC, 2012 WL 5818284, at *4 (N.D. Cal. Nov.15, 2012)

13   (omitting a page of a document that was submitted as an exhibit constituted bad faith).

14   Here, there is no question that Cognizant’s misrepresentations were intentional. For

15   example, the EEOC investigated and found that the very terminations that Cognizant

16   tried to recode as voluntary resignations were part of “nationwide pattern or practice of

17   discrimination against non-Indian employees.” Dkt. 256-4 at 666. Further, Cognizant’s

18   creation and use of the Cognizant 30(b)(6) Chart came after it spent years resisting

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               “[D]efendants’ false certifications have primarily been acts of omission
     during the discovery process. For instance, defendants narrowly construed the scope
21   of their discovery obligations to include only email ESI from certain locations; they
22   failed to search all available drives, servers, and other locations for custodians’
     documents, for email and non-email ESI and documents; they failed to inform
23   plaintiffs about the narrowed searches they were conducting and where they were
24   conducting their searches; they engaged in obstructionist tactics at the Rule 30(b)(6)
     deposition of the individual designated to be defendants’ most knowledgeable on
25   document collection; they failed to produce arbitration agreements . . . despite having
26   entered into them starting in 2019; and they repeatedly attempt to paint plaintiffs as
     the reason behind any discovery misunderstandings and lack of perfection evidenced
27   by defendants in this action.”
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     Plaintiffs’ requests for data as to which terminations Cognizant codes as voluntary and

1    which it codes as involuntary. See pp. 7-8, supra. After refusing to provide truthful

2    answers as to how it codes terminations (through 30(b)(6) testimony or otherwise)

3    Cognizant now claims that the evidence Plaintiffs have uncovered about how Cognizant

4    actually and contemporaneously coded terminations cannot be trusted. Cognizant’s

5    course of conduct shows that its misrepresentations were not mere missteps.

6          Third, there is sufficient nexus between Cognizant’s misconduct and the case at

7    hand. Accepting the definitions in Exhibit 25 could substantially reduce Cognizant’s

8    exposure at the liability phase, and Cognizant relies heavily on Exhibit 25 in asking the

9    Court to deny class certification, claiming that the voluntary/involuntary coding in the

10   falsified exhibit “disproves commonality” and calls into question the entire expert

11   report of Dr. Johnson, such that class certification is improper. See pp. 18-19, infra.

12         Fourth, no lesser sanction than a default judgment would suffice. Merely

13   excluding the evidence would put Cognizant in the same position that it would have

14   been in had it not falsified evidence in the first place and would incentivize further

15   misconduct, including additional falsification of evidence. And any alternative short of

16   a default judgment would force Plaintiffs to litigate liability against a party whose

17   evidence cannot be trusted. As the Ninth Circuit has recognized, this form of deceptive

18   conduct makes it “impossible for the Court to believe a word” that the party says.

19   Englebrick, 620 F. App’x at 566-67; see also Biron, 2021 WL 7160716, at *4 (“In fact:

20   Dismissal is particularly warranted where one party submits falsified evidence” because

21   “[t]he submission of falsified evidence substantially prejudices an opposing party by

22   casting doubt on the veracity of all of the culpable party’s submissions throughout this

23   litigation.”). Under these circumstances, “[n]o lesser sanctions would be adequate.”

24   Englebrick, 620 F. App’x at 567.

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     B.    The Court Should Also Strike Cognizant’s Opposition and Motion to
           Exclude or, in the Alternative, Strike Cognizant’s Arguments That Rely on
1          Cognizant’s Falsified Evidence.
2          In addition, the Court should strike Cognizant’s Opposition (ECF 272-1) and

3    Motion to Exclude (ECF 280-1). No lesser sanction would suffice because both briefs

4    rely heavily on Exhibit 25. And while Plaintiffs propose alternative sanctions below,

5    those sanctions would allow the rest of Cognizant’s Opposition (and Motion to Exclude)

6    to stand, and Cognizant’s falsification of evidence calls the whole submissions into

7    doubt. This is particularly true here, where Cognizant’s Opposition relies heavily on

8    self-serving declarations rather than contemporaneous documentary evidence to rebut

9    Plaintiffs’ allegations as to Cognizant’s class-wide practices. 42 Cognizant essentially

10   asks the Court to rely on its word, and it has shown through its submission of Exhibit

11   25 and supporting arguments that its word cannot be trusted.

12         In the alternative, the Court should sanction Cognizant by striking arguments in

13   its Opposition and Motion to Exclude that Cognizant chose to tie to the fabricated

14   evidence. This sanction is narrowly tailored to prevent Cognizant from gaining an

15   advantage from its improper conduct and is comparable to the sanctions upheld by the

16   Federal Circuit for similar (but less severe) conduct in Monsanto Co. v. E.I. Du Pont de

17   Nemours and Co., 748 F.3d 1189 (2014). There, the Federal Circuit affirmed sanctions

18   where a litigant made factual misrepresentations concerning its subjective

19   understanding of evidence. The Federal Circuit found that “DuPont exceeded the

20   bounds of appropriate conduct and stretched its advocacy beyond what was reasonably

21   justified.” Id. at 1201. Because DuPont “had abused the judicial process and acted in

22         42
              In addition to relying on Exhibit 25, Cognizant submitted 12 declarations
23   from employees or former employees in support of its Opposition. See 273-1
24   (describing Cognizant’s 44 exhibits, 5 of which are declarations from employees or
     former employees); see also 272-4, 272-273-23, 273-24, 273-25, 273-26, and 273-27
25   (additional declarations from employees or former employees submitted in support of
26   Cognizant’s Opposition). Other than exhibits that are specific to the Named Plaintiffs,
     Cognizant relies on only three contemporaneous documents in support of its
27   Opposition: Dkts. 273-12, 273-22, 272-24.
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                                    IV.    CONCLUSION

1          For the foregoing reasons, the Court should sanction Cognizant for falsifying

2    evidence in this matter by granting terminating sanctions and by striking Cognizant’s

3    Opposition and Motion to Exclude in their entirety, or at a minimum, the portions of

4    those briefs that are supported by the fabricated evidence.

5
6    Dated: June 28, 2022                          Respectfully submitted,
7
8                                                  By: /s/Daniel Kotchen
                                                   Daniel Kotchen (pro hac vice)
9                                                  Daniel Low, SBN 218387
10                                                 Lindsey Grunert (pro hac vice)

11                                                 KOTCHEN & LOW LLP
12
                                                   Attorneys for Plaintiffs
13
14
15                             CERTIFICATE OF SERVICE

16         I hereby certify that a true and correct copy of the foregoing was served today

17   on all counsel of record by electronic service through the Court’s CM/ECF filing

18   system.

19
20   Dated: June 28, 2022                                /s/Daniel Kotchen

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